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                        IN THE UNITED STATES DISTRICT COURT
                         FOR THE EASTERN DISTRICT OF TEXAS
                                 SHERMAN DIVISION

SCANNING TECHNOLOGIES                 §
INNOVATIONS LLC,                      §              Case No: 4:22-cv-00372
                                      §
      Plaintiff,                      §              PATENT CASE
                                      §
vs.                                   §              JURY TRIAL DEMANDED
                                      §
MOBOLUTIONS, LLC                      §
                                      §
      Defendant.                      §
_____________________________________ §

                          JOINT STIPULATION OF DISMISSAL

       Plaintiff Scanning Technologies Innovations, LLC, and Defendant Mobolutions, LLC, by

their respective undersigned counsel, hereby STIPULATE and AGREE as follows:

       1.      All claims asserted by the Plaintiff in this Action are dismissed with prejudice and

all counter-claims asserted by the Defendant in this Action are dismissed without prejudice under

Fed. R. Civ. P. 41(a)(1)(A)(ii);

       2.      Each party shall bear its own costs and attorneys’ fees with respect to the matters

dismissed hereby;

       This Stipulation and Order shall finally resolve the Action between the parties.




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Dated: June 17, 2022                             Respectfully submitted,

                                                 /s/Jay Johnson
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                                               ATTORNEYS FOR DEFENDANT


                                CERTIFICATE OF SERVICE

        The undersigned hereby certifies that a true copy of the foregoing was filed electronically
and served by operation of the Court’s electronic filing system on June 17, 2022. Parties may
access the foregoing through the Court’s system.

                                                     /s/Jay Johnson
                                                     JAY JOHNSON




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SO ORDERED, this ____ day of June ___ 2022.

                                 BY THE COURT:




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